      Case 5:20-cv-01473-OLG-RBF Document 51 Filed 09/21/21 Page 1 of 10

                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION


JAMES C. HILL, JR., INDIVIDUALLY AND                  §
AS NEXT FRIENDS OF E.H., A.H., AND                    §
F.H. ET AL.                                           §                 5-20-CV-01473-OLG-RBF
                                                      §
                  Plaintiffs,                         §
                                                      §
vs.                                                   §
                                                      §
AETC II PRIVATIZED HOUSING, LLC,                      §
AETC II PROPERTY MANAGERS, LLC,                       §
HUNT ELP, LTD., D/B/A HUNT MILITARY                   §
COMMUNITIES;                                          §
                                                      §
                  Defendants.                         §
                                                      §

                                                 ORDER

        Before the Court is the Motion to Consolidate filed by Plaintiffs James C. Hill, Jr. and Kari D.

Hill, Michael English and Elldwinia English, Sean Skillingstad and Ressia Skillingstad, Rodolfo Castillo

and Latasha Castillo, and Bradley Oliver and Deborah Oliver on behalf of themselves and their minor

children (collectively the “Hill Plaintiffs”). See Dkt. No. 32. Plaintiffs seek to consolidate this case with

the earlier-filed case styled Furman v. AETC II Privatized Housing, LLC, No. 5-20-cv-1138-OLG-RBF

(W.D. Tex. filed Sept. 24, 2020). To that end, the Furman Plaintiffs—who are represented by the same

counsel as the Hill Plaintiffs—filed an identical motion to consolidate in that case. See Furman, No. 5-20-

cv-1138-OLG-RBF, Dkt. No. 32.

        For the same reasons discussed in a contemporaneous order entered in the Furman case which the

Court incorporates in full herein, the Hill Plaintiffs’ Motion, Dkt. No. 32, is DENIED. For docket clarity

purposes, the Clerk is DIRECTED to attach to this Order a copy of the Furman Order denying

consolidation.

        IT IS SO ORDERED.

        SIGNED this 21st day of September, 2021.




                                        RICHARD B. FARRER
                                        UNITED STATES MAGISTRATE JUDGE
      Case
      Case5:20-cv-01473-OLG-RBF
           5:20-cv-01138-OLG-RBF Document
                                 Document51
                                          48 Filed
                                             Filed09/21/21
                                                   09/21/21 Page
                                                            Page21of
                                                                   of10
                                                                      9




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


JASON H. FURMAN, ERIN FURMAN,                    §
INDIVIDUALLY AND AS NEXT                         §
FRIEND OF AJF, WEF AND OCF,                      §
MINORS;                                          §
                                                 §              5-20-CV-01138-OLG-RBF
                  Plaintiffs,                    §
                                                 §
vs.                                              §
                                                 §
AETC II PRIVATIZED HOUSING, LLC,                 §
AETC II PROPERTY MANAGERS, LLC,                  §
HUNT ELP, LTD., D/B/A HUNT                       §
MILITARY COMMUNITIES,                            §
                                                 §
                  Defendants.                    §


                                            ORDER

       Before the Court is (1) the Motion to Transfer Venue filed by Defendants AETC II

Privatized Housing, LLC, AETC II Property Managers, LLC, and Hunt ELP, LTD d/b/a Hunt

Military Communities, Dkt. No. 23; and (2) the Motion to Consolidate filed by Plaintiffs Jason

H. Furman and Erin Furman and their minor children, Dkt. No. 32. This case was referred for

disposition of all pretrial matters pursuant to Rules CV-72 and 1 of Appendix C to the Local

Rules for the United States District Court for the Western District of Texas. See Dkt. No. 17.

Plaintiffs invoke the federal-enclave doctrine as the basis for federal jurisdiction over this tort

case. Authority to enter this Order stems from 28 U.S.C. § 636(b)(1)(A).1

       For the reasons discussed below, the Motions, Dkt. Nos. 23 & 32, are DENIED.




1
  See Ginsburg v. Georgetown Univ., No. 3:13-CV-952-L, 2001 WL 36522706, at *1 (N.D. Tex.
Aug. 26, 2001) (motions to transfer are nondispositive); Tex. Dep’t of Transp. v. Canal Barge
Co., Inc., No. 4:20-CV-00868, 2020 WL 4335787, at *1 n.1 (S.D. Tex. Jul. 28, 2020) (motions
to consolidate are nondispositive).
                                                1
     Case
     Case5:20-cv-01473-OLG-RBF
          5:20-cv-01138-OLG-RBF Document
                                Document51
                                         48 Filed
                                            Filed09/21/21
                                                  09/21/21 Page
                                                           Page32of
                                                                  of10
                                                                     9




                             Factual and Procedural Background

       On September 24, 2020, Plaintiffs Jason H. Furman and Erin Furman, on behalf of

themselves and their minor children, sued Defendants for toxic mold exposure allegedly incurred

at privatized military housing leased and managed by Defendants on the Goodfellow Airforce

Base (“GAFB”) in San Angelo, Texas. According to Plaintiffs’ live Complaint, the mold

exposure was caused by Defendants’ failure to address a roof leak at their residence in the

summer of 2018. This failure, according to Plaintiffs, wasn’t a one-time occurrence. Rather,

Plaintiffs allege, “AETC II Privatized Housing, LLC, as landlord, acting through its authorized

agent, AETC II Property Managers, LLC, and in conjunction with the property management

company, Defendant Hunt ELP, Ltd. d/b/a Hunt Military Communities “systematically

undermaintained” the houses located on GAFB, subjecting Plaintiffs—as well as many other

service members and their families—to uninhabitable conditions, including pervasive, toxic

mold. See Compl. (Dkt. No. 1) ¶¶ 1-2 & 33. Plaintiffs bring state law claims against Defendants

for the following (1) breach of implied warranty of habitability and warranty of good and

workmanlike repairs; (2) breach of contract; (3) negligence and negligent misrepresentation;

(4) statutory fraud in a real estate transaction; (5) common law fraud; (6) unjust enrichment and

money had and received; (7) intentional nuisance; (8) negligent nuisance; and (9) gross

negligence.

       On February 1, 2021, Defendants moved to dismiss the case without prejudice for failure

to timely effect service of process and for improper venue. See Dkt. No. 8. On March 19, 2021,

the District Court denied Defendants’ Rule 12(b)(5) motion and then referred the case—

including Defendants’ Rule 12(b)(3) Motion—for resolution of all pretrial proceedings. See Dkt.

Nos. 16-17. Thereafter, Defendants filed the instant motion to transfer venue to the Northern



                                               2
        Case
        Case5:20-cv-01473-OLG-RBF
             5:20-cv-01138-OLG-RBF Document
                                   Document51
                                            48 Filed
                                               Filed09/21/21
                                                     09/21/21 Page
                                                              Page43of
                                                                     of10
                                                                        9




District of Texas, pursuant to 28 U.S.C. § 1404(a). Plaintiffs oppose the transfer, arguing that not

only isn’t the Northern District of Texas the more convenient forum but also that consolidation

of this case with the subsequently filed related case styled James C. Hill, Jr. et al. v. AETC II

Privatized Housing, LLC, No. 5:20-cv-01473 (W.D. Tex. Dec. 29, 2020) will ensure judicial

economy, consistency, and convenience for all involved. See Dkt. No. 32. Hill was filed by five

different families who lived at Randolph Air Force in San Antonio Texas from 2017 through

2020.2 The Plaintiffs in Hill contend that while residing in Defendants’ on-base housing they

experienced difficulties with mold, asbestos, water damage, sewage intrusion, and lead paint, as

well as structural and flooring issues and rodent and bug infestations.

          On May 28, 2021, the Court held a hearing on all pending motions in this case, at the

conclusion of which the Court took the motions under advisement.

                                              Analysis

          Defendants’ Motion to Transfer is denied. Defendants haven’t met their burden of

demonstrating that conducting proceedings in the Northern District of Texas would be “clearly

more convenient” than in this District. At the same time, the Court finds that formal

consolidation of this case with Hill, which concerns different alleged harms at a separate military

base, wouldn’t serve convenience or economy in judicial administration.

          A.     Defendants’ Motion to Transfer Venue Is Denied.

          Pursuant to 28 U.S.C. § 1404(a), “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” There’s no dispute that this case could have been filed in the

Northern District of Texas. See In re Volkswagen of Am., Inc., 545 F.3d 304, 314 (5th Cir. 2008)



2
    Two of the families have voluntarily dismissed their claims. See Dkt. No. 8.
                                                  3
      Case
      Case5:20-cv-01473-OLG-RBF
           5:20-cv-01138-OLG-RBF Document
                                 Document51
                                          48 Filed
                                             Filed09/21/21
                                                   09/21/21 Page
                                                            Page54of
                                                                   of10
                                                                      9




(“Volkswagen II”) (“The preliminary question under § 1404(a) is whether a civil action ‘might

have been brought’ in the destination venue.”). Accordingly, at issue here is whether Defendants

have “clearly demonstrate[d] that a transfer is for the convenience of parties and witnesses, in the

interest of justice.” Id. at 315. An analysis of the relevant public and private interest factors—

none of which is afforded dispositive weight—reveals Defendants have failed to meet their

burden. Syndicate 420 at Lloyd's London v. Early Am. Ins., Co., 796 F.2d 821, 827 (5th Cir.

1986) (discussing the factors and providing that none is entitled to receive dispositive effect).

               1.      The relative ease of access to sources is largely neutral. Aside from

medical records, which can be accessed electronically,3 Defendants fail to identify any

documents located in the Northern District of Texas. At the same time, documents relevant to

Defendants’ alleged corporate indifference (or lack thereof) would presumably be located at their

corporate headquarters. At least one named Defendant—Hunt—is located in this District.4

Further, although the property itself is located in San Angelo, Texas, all of the designated experts

who intend to inspect it reside either in the Western District of Texas or out-of-state.

Accordingly, this factor is largely neutral.

               2.      The availability of compulsory process to secure the attendance of

witnesses and cost of attendance for willing witnesses are also neutral. A district court may

compel attendance of a witness by issuing a subpoena within the district of the court or any place

within one hundred miles of the trial. Fed. R. Civ. P. 45(b)(2)(C). But the subpoena power isn’t


3
  See Mateos v. Select Energy Servs., L.L.C., 919 F. Supp. 2d 817, 822 (W.D. Tex. 2013)
(“Typically, the accessibility and location of sources of proof should weigh only slightly in this
Court’s transfer analysis, particularly since these factors have been given decreasing emphasis
due to advances in copying technology and information storage.”).
4
  See Broussard v. First Tower Loan, LLC, 135 F. Supp. 3d 540, 546 (E.D. La. 2015)
(“Typically, documents concerning corporate parties are located at the corporation’s
headquarters”).

                                                  4
     Case
     Case5:20-cv-01473-OLG-RBF
          5:20-cv-01138-OLG-RBF Document
                                Document51
                                         48 Filed
                                            Filed09/21/21
                                                  09/21/21 Page
                                                           Page65of
                                                                  of10
                                                                     9




necessary for willing witnesses. Moreover, employees who reside in Texas may be compelled to

attend trial in this District. Solofill, LLC v. Rivera, CV H-16-2702, 2017 WL 1354146, at *2

(S.D. Tex. Apr. 13, 2017). Here, Defendants haven’t identified a single non-party witness who

doesn’t reside within this Court’s subpoena-range. Defendants instead speculate that “it is much

more likely that many potential and important non-party witnesses reside or may be found within

the 100 miles’ radius of San Angelo than of San Antonio such as former leasing and maintenance

staff, vendors and contractors who performed work at the Furman residence, other fact witnesses,

and health workers who have treated Plaintiffs.” Dkt. No. 23. But speculation is insufficient.

Although the Court recognizes that Defendants filed their motion to transfer early in the case,

before initial disclosures have been exchanged, there’s no reason Defendants couldn’t have at

least specifically identified some non-party witnesses they might call in this case. Accordingly,

the Court finds this factor is neutral. See Solofill, 2017 WL 1354146, at *2 (finding second

private interest factor neutral where defendants didn’t identify any non-party or unwilling

witnesses who would be outside subpoena range).

               3.     The cost of attendance for willing witnesses supports the present venue.

Defendants similarly haven’t identified any willing key party or non-party witnesses, let alone

outlined the substance of their expected testimony. Instead, they speculate about the costs such

unidentified witnesses might incur. Accordingly, this factor supports maintaining venue in this

District. See Broussard, 135 F. Supp. 3d at 547.

               4.     Practical difficulties point to maintaining the present venue. “Practical

problems include those that are rationally based on judicial economy.” TravelPass Grp., LLC v.

Caesars Entm’t Corp., No. 5:18-CV-153-RWS-CMC, 2019 WL 3806056, at *14 (E.D. Tex. May

9, 2019), report and recommendation adopted, 2019 WL 4071784 (E.D. Tex. Aug. 29, 2019).



                                                   5
      Case
      Case5:20-cv-01473-OLG-RBF
           5:20-cv-01138-OLG-RBF Document
                                 Document51
                                          48 Filed
                                             Filed09/21/21
                                                   09/21/21 Page
                                                            Page76of
                                                                   of10
                                                                      9




“Particularly, the existence of duplicative suits involving the same or similar issues may create

practical difficulties that will weigh in favor or against transfer.” Id. Here, Plaintiffs allege that

their injuries stemmed from an intentional corporate decision not to adequately maintain military

housing. To that end, the attorneys for Plaintiffs have filed two other related tort cases on behalf

of a different set of plaintiffs raising similar issues to those present in this case. Accordingly, this

factor weighs against transfer. See id.; see also In re Volkswagen of Am., Inc. (Volkswagen III),

566 F.3d 1349, 1351 (Fed. Cir. 2009) (“[T]he existence of multiple lawsuits involving the same

issues is a paramount consideration when determining whether a transfer is in the interest of

justice.”).

                5.      Administrative    difficulties   flowing   from    court    congestion    don’t

meaningfully affect the analysis here. This factor is neutral. Defendants don’t argue that this

factor supports a transfer, and both Districts are equally busy.

                6.      The local interest in having local controversies decided at home slightly

favors transfer here. The focus of this inquiry is “the relative connection of the localities to the

events giving rise to this suit and their corresponding interests in the resolution of this

controversy.” Vassallo v. Goodman Networks, Inc., No 5:14-CV-743, 2015 WL 502313, at *5

(W.D. Tex. Feb. 5, 2015). This is because “[j]ury duty is a burden that ought not to be imposed

upon the people of a community which has no relation to the litigation.” Volkswagen I, 371 F.3d

at 206. To that end, “the place of the alleged wrong is one of the most important factors in venue

determinations.” Chase v. Andeavor Logistics, LP, No. 5:18-CV-1050-DAE, 2019 WL 5847879,

at *7 (W.D. Tex. Jul. 9, 2019) (quotations omitted). Here, the harm giving rise to Plaintiffs’

injuries occurred in San Angelo, Texas where Plaintiffs were housed. At the same time, Plaintiffs

contend that Defendants made the intentional corporate decision to undermaintain base housing.



                                                   6
       Case
       Case5:20-cv-01473-OLG-RBF
            5:20-cv-01138-OLG-RBF Document
                                  Document51
                                           48 Filed
                                              Filed09/21/21
                                                    09/21/21 Page
                                                             Page87of
                                                                    of10
                                                                       9




And, as mentioned, at least one of the corporate Defendants is headquartered in this District.

Accordingly, this factor only slightly favors transfer.

                   7.       The familiarity of the forum with the governing law and conflicts-of-law

issues don’t materially affect things here. “Because this case will apply federal law and does not

raise conflicts of law issues, the final two factors do not favor either venue.” Id. at *8.

        Based on the foregoing analysis, the Court finds that the public and private interest

factors don’t support a transfer to the North District of Texas. Accordingly, Defendants’ Motion

to Transfer is denied.

        B.         Plaintiffs’ Motion for Consolidation Is Also Denied.

        Federal Rule of Civil Procedure 42 provides, in pertinent part, that:

        If actions before the court involve a common question of law or fact, the court
may:
             (1)        join for hearing or trial any or all matters at issue in the actions;
             (2)        consolidate the actions; or
             (3)        issue any other orders to avoid unnecessary cost or delay.

Fed. R. Civ. P. 42(a). Consolidation under Rule 42 is permissive, not mandatory. See Hall v.

Hall, --U.S.--, 138 S. Ct. 1118, 1131 (2018) (“District courts enjoy substantial discretion in

deciding whether and to what extent to consolidate cases.”). Accordingly, “the mere fact that a

common question is present and that consolidation therefore is permissible under Rule 42(a),

does not mean that the trial court judge must order consolidation.” 9A Charles Alan Wright &

Arthur R. Miller, Federal Practice and Procedure § 2383 (3d ed. 2008). In determining whether

consolidation is appropriate, courts “weigh the saving of time and effort that consolidation under

Rule 42(a) would produce against any inconvenience, delay, or expense that it would cause for

the litigants and the trial judge.” Id. Consolidation is not permitted “if it would prejudice the




                                                       7
      Case
      Case5:20-cv-01473-OLG-RBF
           5:20-cv-01138-OLG-RBF Document
                                 Document51
                                          48 Filed
                                             Filed09/21/21
                                                   09/21/21 Page
                                                            Page98of
                                                                   of10
                                                                      9




rights of the parties.” St. Bernard Gen. Hosp., Inc. v. Hosp. Serv. Ass’n of New Orleans, Inc., 712

F.2d 978, 989 (5th Cir. 1983).

       Five factors inform a court’s inquiry into whether consolidation is appropriate:

(1) whether the actions are pending in the same court; (2) whether there are common parties;

(3) whether there are common questions of law or fact; (4) whether there is risk of prejudice or

confusion versus a risk of inconsistent adjudications if the cases are tried separately; and

(5) whether consolidation will promote judicial economy. Frazier v. Garrison I.S.D., 980 F.2d

1514, 1531 (5th Cir. 1993); Parker v. Hyperdynamics Corp., 126 F. Supp. 3d 830, 835 (S.D.

Tex. 2015). Here, the factors reflect that consolidation for pretrial purposes isn’t warranted.

       Although both the Hill and Furman cases are pending before the same court and judges,

and also involve some overlap in legal and factual issues, “[i]ndividual questions of law and fact

appear to predominate over common ones.” Ulibarri v. Novartis Pharms. Corp., 303 F.R.D. 402,

404 (D.N.M. 2014). The cases involve different sets of Plaintiffs, and the harms occurred at

different properties at two different Air Force bases that are located over 200 miles apart. The

cases involve “different leasing agents, different community managers, different maintenance

staff, and different maintenance directors.” Radliff Decl. ¶ 3 (Dkt. No. 40-1). Moreover, although

both cases concern Defendants’ alleged failure to properly maintain on-base housing, the

Furman case only pertains to Defendants’ failure to address a roof leak. The Hill Plaintiffs, in

contrast, allege harms stemming from things like asbestos, sewage intrusion, lead paint,

structural and flooring issues, and rodent and bug infestations. Finally, the Hill Plaintiffs raise

different causes of action than the Furman Plaintiffs, such as violations of the Texas Deceptive

Trade Practices Act and the federal Residential Lead-Based Paint Hazard Reduction Act, and

claims involving third-party-contract-beneficiary matters and strict-liability nuisance.



                                                 8
     Case
      Case5:20-cv-01473-OLG-RBF
           5:20-cv-01138-OLG-RBF Document
                                  Document51
                                           48 Filed
                                               Filed09/21/21
                                                     09/21/21 Page
                                                               Page10
                                                                    9 of 9
                                                                         10




       For all these reasons, the Court finds that formal consolidation of the Furman and Hill

cases would create more inefficiency than efficiency.

                                          Conclusion

       For the reasons discussed above, Defendants’ Motion to Transfer Venue, Dkt. No. 23;

and Plaintiffs’ Motion to Consolidate, Dkt. No. 32, are DENIED.

       IT IS SO ORDERED.

       SIGNED this 21st day of September, 2021.




                                            RICHARD B. FARRER
                                            UNITED STATES MAGISTRATE JUDGE




                                               9
